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the Company in connection with services provided under this Agreement. Compass shall initially
advance to the Company two weeks’ estimated operational funds. The Company shall forward
invoices for its costs and expenses to Compass on a weekly basis during the term of this Agreement.
To the extent funds advanced by Compass for this purpose are insufficient to pay such invoices,
Compass shall, upon receipt of such invoices, advance additional funds to the Company or pay
directly such invoices directly.

3. GENERAL INDEMNIFICATION. Compass agrees to indemnify, defend, and hold
harmless the Company and its officers, directors, employees, agents, consultants, professionals,
representatives, successors or assigns, including without limitation Mesirow Financial Interim
Management, LLC, its affiliates, officers, directors, employees, agents, consultants, professionals and
representatives (collectively, the “Indemnified Parties” or individually the “Indemnified Party”) from
and against any and all liabilities, judgments, settlements, losses, damages, consequential damages,
costs, and expenses, including, without limitation, attorneys’ fees, court costs, arbitration costs, costs of
investigation, settlement costs, and other litigation expenses, of every kind and nature, relating to any
and all claims, actions, disputes, suits, proceedings, demands, inquiries and investigations arising from
or in connection with the Company’s performance of services under this Agreement (collectively, the
“Claims”); provided, however, such indemnity shall not apply to any such Claims to the extent they
are found in a final judgment by a court of competent jurisdiction (not subject to further appeal) to
have resulted primarily and directly from such Indemnified Party’s gross negligence or willful
misconduct, and in that event, the Indemnified Parties shall, within ten (10) days of receipt of an
invoice therefore, reimburse Compass for all funds paid in indemnifying and/or defending the
Indemnified Parties for such Claims. The indemnification set forth above shall survive the termination
of this Agreement.

4, TERM. The term of this Agreement shall begin on the Closing Date and shall
terminate on the first to occur of (a) the 90" day after the Closing Date, (b) the date on which
Compass is issued a mortgage broker license by the Mortgage Lending Division, and (c) June 30,
2007; provided, however, Compass shall have the right to terminate this Agreement at any time prior

to its stated term upon five (5) business days written notice to the Company (collectively, the
“Term’’).

5. ENTIRE AGREEMENT. This Agreement, together with the other agreements
—————specifivatty described,contains the entire agreement between the Parties relating to the rights _herein

granted and obligations herein assumed. Any oral representations or modifications concerning this
Agreement shall be of no force or effect except by a subsequent modification in writing signed by all
the Parties.

6. ASSIGNMENT. No assignment of this Agreement or any right accruing hereunder
shall be made, in whole or in part, by any Party without the prior written consent of the other Parties.

7. BINDING EFFECT. Subject to the provisions regarding assignment, this
Agreement shall be binding upon the heirs, administrators, legal representatives, successors and
assigns of the Parties.

8. GOVERNING LAW. This Agreement shall be governed by and construed in
accordance with the laws of the State of Nevada. The Parties acknowledge and agree that
jurisdiction for any dispute relating to this Agreement shall be proper in the Bankruptcy Court.
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9, SEVERABILITY. In case any one or more of the provisions contained in this
Agreement shall for any reason be held to be invalid or unenforceable in any respect, then such
invalidity or unenforceability shall not affect any other provision hereof and this Agreement shall be
construed as if such invalid or unenforceable provision had never been contained herein.

10. ATTORNEYS’ FEES. If any action at law or in equity is brought to enforce or
interpret the provisions of this Agreement, the prevailing Party or Parties shall be entitled to recover
from the other Party or Parties its or their reasonable attorneys’ fees, expert witness fees and all other
related costs in addition to any other relief to which that Party or Parties may be entitled.

11. FURTHER ASSURANCES. The Parties shall each execute, acknowledge and
deliver such instruments, do such things and perform such acts as may be reasonably necessary to
carry out the terms and conditions of this Agreement.

12. CONSTRUCTION. All pronouns and any variations thereof shall be deemed to
refer to the masculine, feminine or neuter gender thereof or to the plurals of each, as the identity of
the person or persons or the context may require. The descriptive headings contained in this
Agreement are for reference purposes only and are not intended to describe, interpret, define or limit
the scope, extent or intent of this Agreement or any provision contained in this Agreement. The
Parties and their legal counsel have participated jointly in the negotiation and drafting of this
Agreement. In the event an ambiguity or question of intent or interpretation arises, this Agreement
shall be construed as if drafted jointly by the Parties hereto and no presumption or burden of proof
shall arise favoring or disfavoring any Party by virtue of the authorship of any provisions of this
Agreement.

13. UNENFORCEABILITY. If any provision contained in this Agreement shall for
any reason be held to be invalid, void or unenforceable in any respect, such provision shall be
deemed modified so as to constitute a provision conforming as nearly as possible to such invalid,
void or unenforceable provision while still remaining valid and enforceable; and the remaining terms
or provisions contained herein shall not be affected thereby.

14. TIME IS OF THE ESSENCE. Time shall be of the essence with respect to this
Agreement and the consummation of the transactions contemplated hereby.

15. REMEDIES. Except as expressly set forth in this Agreement, none of the remedies
provided herein shall be the exclusive remedy of any Party for a breach of this Agreement. The
Parties hereto shall have the right to seek any other remedy at law or in equity in lieu of or in addition
to any remedies provided for in this Agreement including, without limitation, specific performance
and/or injunctive relief.

16. NOTICES. All notices and other communications hereunder shall be (i) in writing,
dated with the current date of such notice, and signed by the party giving such notice, and
(ii) delivered (a) by registered or certified mail, return receipt requested, addressed to the party to be
notified; (b) by personal delivery or overnight courier; or (c) by facsimile or email. Written notice
shall be deemed given when received by the party to be notified or when the party to be notified
refuses to accept delivery of the notice. The initial addresses of the Parties shall be as follows:
